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  1   Robert P. Goe - State Bar No. 137019
      Brandon J. Iskander – State Bar No. 300916
  2   GOE FORSYTHE & HODGES LLP
      17701 Cowan Avenue, Suite 210, Building D
  3   Irvine, CA 92614
      rgoe@goeforlaw.com
  4   biskander@goeforlaw.com
  5   Telephone: (949) 798-2460
      Facsimile: (949) 955-9437
  6
      Attorneys for Huntington Beach Gables Homeowners Association
  7
  8                              UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10
 11   In re:                                                  Case No. 8:21-bk-11710-ES
 12    JAMIE LYNN GALLIAN,
                                                              Chapter 7
 13
                                                              HUNTINGTON BEACH GABLES
 14                   Debtor.                                 HOMEOWNERS ASSOCIATION’S
                                                              JOINDER TO TRUSTEE’S REPLY IN
 15                                                           SUPPORT OF APPLICATION TO
                                                              EMPLOY REAL ESTATE BROKER
 16
 17                                                           Hearing Date: September 13, 2022
                                                              Time:         10:30 a.m.
 18                                                           Courtroom: 5C

 19
               The Huntington Beach Gables Homeowners Association (“HOA”) hereby files its
 20
      Joinder to the Chapter 7 Trustee’s (“Trustee”) Reply in Support of Application to Employ Real
 21
      Estate Broker [Docket No. 218] (“Reply”). The HOA is a substantial creditor of the Debtor,
 22
      having obtained judgments against her in excess of $300,000 plus interest. In addition to the
 23
      arguments raised by the Trustee in the Reply, the HOA notes that a debtor generally lacks
 24
      standing to object to the employment of a professional by the Trustee. See 11 U.S.C. § 327(c)
 25
      (“In a case under chapter 7 . . . of this title, a person is not disqualified for employment under
 26
      this section . . . unless there is objection by another creditor or the United States trustee . . . .”).
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      The Ninth Circuit has recognized one limited exception to the lack of standing of a debtor to
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      object to employment applications, which is when the case is expected to have a surplus payable


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  1   to him/her. See Duckor Spradling & Metzger v. Baum Trust (In re P.R.T.C., Inc.), 177 F.3d 774,
  2   778 n.2 (9th Cir. 1999); see also In re Barnes, 2013 Bankr. LEXIS 2876, *17 (Bankr. D. Or.
  3   July 16, 2013) (interpreting same). However, Debtor admitted on her bankruptcy petition that
  4   the case was not expected to be a surplus case. (See Petition, Docket No. 1, at 6 (“Do you
  5   estimate that after any exempt property is excluded and administrative expenses are paid that
  6   funds will be available to distribute to unsecured creditors?”, “No.”).) As such, Debtor lacks
  7   standing to object to the employment of a broker.
  8           Further, assuming arguendo that the Debtor ever could have standing to object to the
  9   employment of a professional, Debtor has not demonstrated why the application does not
 10   comply with Bankruptcy Rule 2014, which is the only rule apparently applicable to whether an
 11   application and order of employment can be granted. Pursuant to Bankruptcy Rule 2014, the
 12   Trustee is only required to state certain facts, which the Trustee has done. The Trustee has
 13   stated the specific facts necessitating the employment, i.e., the fact that 16222 Monterey Lane,
 14   Space #376, Huntington Beach, CA 92649 (“Property”) is non-exempt. The Trustee has stated
 15   the name of the persons to be employed and the reason for the selection. The Trustee has stated
 16   the professional services to be rendered. Finally, the Application is accompanied by a statement
 17   of disinterestedness.     Therefore, the Application satisfies Bankruptcy Rule 2014 and
 18   employment is authorized under Section 327 of the Bankruptcy Code.
 19          For the reasons set forth in the Reply and herein, the HOA respectfully requests that the
 20   Court grant the Application.
 21
      Dated: September 7, 2022                             Respectfully submitted by
 22
 23                                                        GOE FORSYTHE & HODGES LLP

 24                                                        By: /s/ Robert P. Goe
                                                              Robert P. Goe
 25                                                           Brandon J. Iskander
                                                              Attorneys for Huntington Beach Gables
 26                                                           Homeowners Association
 27
 28



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  1                             PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 17701 Cowan Street, Suite 210, Irvine, CA 92614
  3   A true and correct copy of the foregoing document entitled (specify): HUNTINGTON BEACH GABLES
      HOMEOWNERS ASSOCIATION’S JOINDER TO TRUSTEE’S REPLY IN SUPPORT OF APPLICATION
  4   TO EMPLOY REAL ESTATE BROKER will be served or was served (a) on the judge in chambers in the
      form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) September 7, 2022, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  8
             Aaron E DE Leest adeleest@DanningGill.com,
  9           danninggill@gmail.com;adeleest@ecf.inforuptcy.com
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 10          Jeffrey I Golden (TR) lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law
             D Edward Hays ehays@marshackhays.com,
 11           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
              oza@ecf.courtdrive.com
 12          Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
 13          Laila Masud lmasud@marshackhays.com,
              lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
 14          Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
             Valerie Smith claims@recoverycorp.com
 15          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

 16   2. SERVED BY UNITED STATES MAIL:
      On (date) September 7, 2022, I served the following persons and/or entities at the last known addresses in
 17   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
 18   here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 19
      Jamie Lynn Gallian                   Janine Jasso                          Michael D Poole
 20   16222 Monterey Ln Unit 376           PO Box 370161                         Feldsott & Lee
      Huntington Beach, CA 92649           El Paso, TX 79937                     23161 Mill Creek Dr Ste 300
 21                                                                              Laguna Hills, CA 92653

      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
 22   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) September 7, 2022, I served the following persons and/or entities by personal delivery, overnight
 23   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows: Listing the judge here constitutes a declaration that personal delivery on, or
 24   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 25        The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
           (SUSPENDED DUE TO COVID-19 PROTOCOLS)
 26
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 27
       September 7, 2022         Susan C. Stein                              /s/Susan C. Stein
 28    Date                     Printed Name                                 Signature




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